Case 8:23-cv-00701-SDM-MRM Document 36 Filed 06/05/23 Page 1 of 4 PageID 205


                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


    ASHLEY MOODY, on behalf of the
    People of the State of Florida,

          Plaintiff,

    v.                                            CASE NO. 8:23-cv-701-SDM-MRM

    CALEB HUNTER FREESTONE, et al.,

          Defendants.
    ___________________________________/


                                           ORDER

          In this civil action under the Freedom of Access to Clinic Entrances Act (the

    FACE Act), 18 U.S.C. § 248, Ashley Moody, the Attorney General of Florida, sues

    (Doc. 9) four defendants, each of whom is allegedly “a member of Antifa and Jane’s

    Revenge” and who soon after Dobbs v. Jackson Women’s Health Organization, 142 S. Ct.

    2228 (2022), allegedly “vandalized and threatened” at least three Florida “crisis preg-

    nancy centers,” which are “non-profit organizations that offer [to pregnant women]

    free services . . . including financial support, ultrasounds, and counseling but do not

    perform or promote abortions.” Because each defendant was indicted under the

    FACE Act, United States v. Freestone, et al., 8:23-cr-25-VMC-AEP (M.D. Fla.), each

    defendant moves (Docs. 18, 29, 30, and 31) to stay this action pending completion of

    the criminal action. Attorney General Moody responds (Doc. 34) in opposition.
Case 8:23-cv-00701-SDM-MRM Document 36 Filed 06/05/23 Page 2 of 4 PageID 206



           If, because of a contemporaneous criminal action, invoking the Fifth Amend-

    ment privilege against self-incrimination effectively prevents a defendant’s offering

    probative evidence in defense of a civil action and inevitably results in an adverse

    judgment in the civil action, a stay of the civil action pending resolution of the paral-

    lel criminal action is required. United States v. Lot 5, 23 F.3d 359, 364 (11th

    Cir. 1994). In other words, if a defendant’s reasonably invoking the Fifth Amend-

    ment in a civil action disables the civil defendant (because, for example, equivalent

    and necessary evidence for the defense is unavailable from another source) and di-

    rectly and unavoidably results in a judgment adverse to the defendant, a stay of the

    civil action is required by applicable law.

           If circumstances are less dire for the defendant, a discretionary stay is nonethe-

    less available but should issue only after considering whether the defendant’s Fifth

    Amendment rights are importantly endangered, whether a stay preserves important

    public and private resources, whether a stay adversely affects the public interest to an

    unacceptable extent, whether in the civil and criminal actions the legal or factual is-

    sues mostly overlap, whether invoking the privilege in the civil action creates an un-

    fair and disproportionate inference, and whether some other salient and compelling

    factor commends a stay. Campbell v. Eastland, 307 F.2d 478, 487 (5th Cir. 1962); 1 Sec.

    & Exch. Comm'n v. Palleschi, 2021 WL 4710773 at *1 (M.D. Fla. 2021) (Chappell, J.)




           1
             Bonner v. Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981), adopts as binding precedent each
    Fifth Circuit decision published before September 30, 1981.
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Case 8:23-cv-00701-SDM-MRM Document 36 Filed 06/05/23 Page 3 of 4 PageID 207



    (quoting Sec. & Exch. Comm'n v. Huff, 2010 WL 11447249 at *3 (S.D. Fla. 2010) (Le-

    nard, J.)).

            In this action, even if invoking the Fifth Amendment privilege would not

    alone result in an adverse judgment (although that is at least possible), sound discre-

    tion favors a stay pending the resolution of the criminal action. The defendants’ in-

    voking their Fifth Amendment right against self-incrimination would almost cer-

    tainly create a forceful and adverse inference in the civil action. Similarly, because

    the United States in the criminal action and Attorney General Moody in the civil ac-

    tion assert against the same defendants claims based on the same events and the

    same law, the actions appear to almost entirely overlap (the defendants argue that

    “[t]here is absolute overlap in laws and legal analysis [between] the civil and criminal

    cases”).

            Attorney General Moody contends that the public interest is “served by quick

    resolution” of the civil action, but a measured stay in deference to the criminal action

    likely will not cause a material delay. The docket in the criminal action, United States

    v. Freestone, et al., 8:23-cr-25-VMC-AEP (M.D. Fla.), reveals that the presiding judge

    has scheduled the trial to occur within three months. 2 Further, a brief stay in the

    civil action avoids potential delay in discovery because of the defendants’ invoking

    the Fifth Amendment, prevents any prejudice to the defendants caused by




            2
             The trial in the criminal action is scheduled for the July 2023 trial term, but the docket re-
    veals that the presiding judge might continue the trial to the August 2023 trial term.
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Case 8:23-cv-00701-SDM-MRM Document 36 Filed 06/05/23 Page 4 of 4 PageID 208



    simultaneously defending both actions, and avoids the undue expenditure of public

    and private resources.

          The motions (Docs. 18, 29, 30, and 31) to stay the civil action are

    GRANTED. This action is STAYED for ninety days or until completion of the trial

    or another resolution in the criminal action, whichever occurs first. However, if any

    party can show a need for discovery to preserve evidence that might become unavail-

    able or less effective or show a similarly urgent need for discovery, the party can

    move for partial relief from the stay to complete specific discovery. The clerk must

    ADMINISTRATIVELY CLOSE the case. The defendants’ motion (Doc. 35) to re-

    ply is DENIED AS MOOT.

          ORDERED in Tampa, Florida, on June 5, 2023.




                                              -4-
